                        UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:07CR79-W

UNITED STATES OF AMERICA,                          )
                                                   )             PRELIMINARY ORDER
                v.                                 )               OF FORFEITURE
                                                   )
(2) SHARU BEY                                      )


        In the Bill of Indictment in this case, the United States sought forfeiture of property of the

defendant pursuant to 21 U.S.C. §853(a) as property that was proceeds of and/or was used to

facilitate the crimes charged.

        Defendant was convicted at trial on Count Four, which charged a violation of 18 U.S.C.

§922(g)(1). The jury thus implicitly found that the firearm alleged in that count was used to commit

the violation and that defendant had a possessory interest in the firearm. The government has

represented that defendant has waived any interest in the firearm.

        It is therefore ORDERED:

        1. Based upon defendant’s conviction, the United States is authorized to seize the following

property belonging to defendant, and it is hereby forfeited to the United States for disposition

according to law, subject to the provisions of 21 U.S.C. §853(n):

        a .45 caliber semi-automatic Glock handgun.

        2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of general

circulation, notice of this order; notice of its intent to dispose of the property in such manner as the

Attorney General may direct; and notice that any person, other than the defendant, having or

claiming a legal interest in any of the above-listed forfeited property must file a petition with the




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Court within thirty days of the final publication of notice or of receipt of actual notice, whichever

is earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in each of

the forfeited properties and any additional facts supporting the petitioner’s claim and the relief

sought. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in property that is the subject of this order of forfeiture, as

a substitute for published notice as to those persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. §853(n).


                                                    Signed: March 19, 2008




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